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                                           ORDERED.
Dated: September 27, 2024




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov

     In re:                                               )
                                                          )       Case No. 6:24-bk-01255-LVV
     Mark Christopher Kaley                               )       Chapter 13
                                                          )
                     Debtor.                              )
                                                          )

                 ORDER DENYING MOTION FOR RECONSIDERATION OF ORDER
                                  DISMISSING CASE

              THIS CASE came before the Court without hearing on Debtor’s Motion to Renew and

 Reargue the Order Dismissing Chapter 13 Case and Reimposing the Automatic Stay (Doc. No. 64)

 (the “Motion for Reconsideration”). On July 9, 2024, the Court held a continued hearing on Debtor’s

 Motion for Sanctions, at which time Trustee’s Motion to Dismiss for Failure to Maintain Timely Plan

 Payments (Doc. No. 53) (the “Motion to Dismiss”) was also discussed.1 At that hearing, Debtor

 represented to the Court that he had mailed a money order to the Trustee in the amount of $7,179.06

 to bring him current in his plan payments. Based on that representation, the Court took no action on




 1
  The Motion to Dismiss was not set for hearing as the Debtor had not filed a response and the negative notice period
 had not expired. As such, the Court took the statement made by Debtor at the hearing to serve as his Response to the
 Motion to Dismiss.
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the Motion to Dismiss and advised the Debtor, who is proceeding pro se, that the Motion to Dismiss

would be set for hearing should the Trustee have issues with collecting the payment.

           On July 18, 2024, Trustee noticed the Motion to Dismiss for hearing on August 13, 2024 (the

“Notice of Hearing”) with the Certificate of Service including Debtor’s name and address. At the

hearing on August 13, 2024, Debtor did not appear. The Trustee stated at the hearing that she received

correspondence as discussed at the last hearing but no payment was included.2 Accordingly, the Court

entered the Order Dismissing Case with Injunction (the “Order”) (Doc. No. 61), which is at issue

here.

           On August 17, 2024, Debtor filed the Motion for Reconsideration. Debtor argues that the

Court should reconsider the Order because Debtor states he did not receive notice of the hearing and

that he was acting in good faith. Secured Creditor LC04 Special, LLC (“Creditor”) filed an Objection

to the Motion for Reconsideration (the “Objection”) (Doc. No. 66), arguing that Debtor is attempting

to relitigate issues that have already been decided and has a history of using delay tactics in the state

court proceedings.

           Reconsideration under Federal Rules of Civil Procedure 59(e) is only available upon

discovery of newly available evidence or to correct manifest errors of law or fact.3 Arthur v. King,

500 F.3d 1335, 1343 (11th Cir. 2007). A motion for reconsideration is not grounds to reargue or

relitigate issues already decided. In re Parker, 378 B.R. 365, 371 (Bankr. M.D. Fla. 2007).

           Alternatively, under Rule 60 of Federal Rules of Civil Procedure, a party may obtain relief

from judgment or order for the following six reasons: (1) mistake, inadvertence, surprise, or excusable

neglect; (2) newly discovered evidence; (3) fraud, misrepresentation, or other misconduct by an




2
    Trustee also subsequently filed a Notice of the Correspondence received from Debtor (Doc. No. 58).
3
    Federal Rules of Civil Procedure 59 is incorporated by Federal Rules of Bankruptcy Procedure 9023.


                                                            2
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opposing party; (4) the judgment is void; (5) the judgment has been satisfied, released, or discharged;

or (6) any other reason that justifies relief.4

           Debtor has not presented a valid basis for reconsideration. Debtor has provided no evidence

to rebut the Certificate of Service on the Notice of Hearing. Moreover, Debtor has provided no

evidence to that he would have defeated the Motion to Dismiss had he been present at the hearing.

The Motion for Reconsideration simply states, “Debtor has a good faith reason to assert that the

Trustee’s Motion to Dismiss should not have been granted.” Debtor provides no additional

explanation or evidence as to the substance of this “good faith reason.” Lastly, the Court also is

concerned about Debtor’s attempts to abuse the integrity of the bankruptcy system. Debtor

represented to the Court that the payment of $7,179.06 was mailed to the Trustee at the hearing on

July 9, 2024. The Court relied on this representation in taking no action on the Motion to Dismiss. At

the hearing on August 13, 2024, the Trustee indicated to the Court that she only received a

correspondence but no payment. The Court will not entertain what simply appears to be a tactic by

Debtor to use this Court as a mechanism to delay Creditor’s enforcement of a foreclosure judgment.

Accordingly, it is

           ORDERED:

           1.       The Motion for Reconsideration (Doc. No. 64) is DENIED.

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The clerk is directed to serve a copy of this Order on all interested parties.




4
    Federal Rules of Civil Procedure 60 is incorporated by Federal Rules of Bankruptcy Procedure 9024.


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